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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

      PRINCETON DIGITAL IMAGE
      CORPORATION,

                             Plaintiff,
                                                           C.A. No. 12-1461 (LPS) (CJB)
                             v.

      KONAMI DIGITAL ENTERTAINMENT INC.,
      HARMONIX MUSIC SYSTEMS, INC. and
      ELECTRONIC ARTS, INC.,

                             Defendants.


      PRINCETON DIGITAL IMAGE
      CORPORATION

                             Plaintiff,
                                                           C.A. No. 13-0335 (LPS) (CJB)
                             v.

      UBISOFT ENTERTAINMENT SA and
      UBISOFT, INC.,

                             Defendants.


              JOINT STIPULATION AND [PROPOSED] SCHEDULING ORDER

          WHEREAS, the parties have moved to modify the schedule;

          IT IS HEREBY STIPULATED AND AGREED, by and between the parties and subject

   to the approval of the Court, that the following deadlines shall apply to the proceedings in these

   actions:




                                                   1
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   Event                             Current Date                       Proposed Date

   PDI supplemental expert report    May 31, 2018                       28 days after Konami
   on infringement regarding                                            Japan production
   Konami

   Konami supplemental rebuttal      June 29, 2018                      August 24, 2018
   expert report

   Expert Discovery Close            July 20, 2018                      September 5, 2018

   Case Dispositive Motions          August 17, 2018                    September 21, 2018
   (CDMs)

   Oppositions to CDMs               September 14, 2018                 October 12, 2018

   Replies ISO CDMs                  October 5, 2018                    October 26, 2018

   Hearing on CDMs                   November 9, 2018                   No change

   Conference to Discuss the Order   February 5, 2019 at 9:00 am        No change
   and Scheduling of Trials

   Pretrial Conference               March 8, 2019 at 11:30 am          No change

   Trial on First Case               April 8, 2019 at 9:30 am           No change




   DATED: _______________, 2018                        ___________________________
                                                       The Honorable Christopher J. Burke
                                                       United States Magistrate Judge




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